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                        Elizabeth Sines, et al. v. Jason Kessler, et al.
                            Case No. 3:17-cv-00072-NKM-JCH




                            EXHIBIT 1
          TO PLAINTIFFS’ OPPOSITION TO DEFENDANT CANTWELL’S MOTION IN LIMINE
     TO INTRODUCE STATEMENTS AGAINST INTEREST OF UNAVAILABLE WITNESS DWAYNE
            DIXON PURSUANT TO FED. R. EVID. 804(b)(3) AND 807 – filed October 12, 2021


                 .mp4 video exhibit to be provided
                   to the Court and all parties
